Court of Appeals
of the State of Georgia

                                                               ATLANTA, April 03, 2017

The Court of Appeals hereby passes the following order

A17I0175. ST. MARY’S HEALTH CARE SYSTEM, INC. d/b/a ST. MARY’S HOSPITAL
    v. FREDRICK ROACH et al. .


     Upon consideration of the Application for Interlocutory Appeal, it is ordered that it be

hereby GRANTED. The Appellant may file a Notice of Appeal within 10 days of the date of

this order. The Clerk of Superior Court is directed to include a copy of this order in the record

transmitted to the Court of Appeals.


LC NUMBERS:

SU14CV1333




                                       Court of Appeals of the State of Georgia
                                            Clerk's Office, Atlanta, April 03, 2017.

                                            I certify that the above is a true extract from the minutes
                                       of the Court of Appeals of Georgia.

                                            Witness my signature and the seal of said court hereto
                                       affixed the day and year last above written.

                                                                          , Clerk.
